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Diamond Comics Distributors, Inc                                                                                                                                                                                               Case No. 25-10308
Cash Receipts/Disbursments                                                                                                                                                                                                                Feb-25



Division                                    AGD          AGD            AGD          CGA         CGA           DCD          DCD           DCD               DCD              DCD               DCD               DCD
Description                               JPM - US     JPM - US       JPM - US     JPM - US    JPM - US      JPM - US     JPM - US      JPM - US       JPM - Canada      JPM - Canada   Bank of Montreal    Bank of Montreal
Account Number                              3396         3719           0569         0871        0020          0555         6266          5979             9564             9566               025                859
Currency                                    USD          USD            USD          USD         USD           USD          USD           USD        CAD - (Converted)       USD        CAD - (Converted)         USD
Currency Conversation Rate Used              N/A          N/A            N/A          N/A         N/A           N/A          N/A           N/A           0.69524              N/A           0.69524               N/A

Cash Receipts/Disbursments                                                                                                                                                                                                           Total
Beginning Balance                         11,513           -         557,350          -        96,305       498,754           -        115,954           80,606            37,534           71,023              19,721            1,488,760

Receipts
   Dip Funding                          14,775,000     573,861       1,273,373     30,651          -          930         367,303     16,771,796             -                -                 -                  -             33,792,914
   Other Cash Receipts                       -             -             -            -            -           -              -          5,626               -                -                 -                  -                5,626
   Payments From Customers                23,154           -        10,260,250        -        207,619     9,183,691          -        153,855           365,781           17,188           215,339             27,981           20,454,857
Total Receipts                          14,798,154     573,861      11,533,623     30,651      207,619     9,184,621      367,303     16,931,277         365,781           17,188           215,339             27,981           54,253,397



Disbursements
   Paydown of DIP Facility                    -            -        (11,985,141)       -           -       (10,031,946)       -        (1,510,000)           -                -                 -                   -            (23,527,087)
   Vendor Payments (Checks)                   -        (573,861)          -        (30,651)        -             -        (367,303)          -            (3,221)             -                 -                   -              (975,035)
   Vendor Payments (ACH/Wire)           (14,377,858)       -              -            -       (84,944)          -            -       (11,723,704)       (56,179)             -             (61,600)                -            (26,304,286)
   Bank Fees                               (5,564)         -          (105,471)        -         (980)       (53,941)         -           (4,112)         (1,011)           (471)             (458)               (14)             (172,023)
   Interest Expense                           -            -              -            -           -             -            -          (96,796)            -                -                 -                   -               (96,796)
   Nsf Checks/Credit Card Chargebacks      (4,013)         -              -            -           -           (829)          -           (6,374)            -                -                 -                   -               (11,216)
   Intercompany Payments                      -            -              -            -           -             -            -         (275,000)            -                -                 -                   -              (275,000)
   Payroll And Health Benefits            (725,850)        -              -            -           -             -            -        (1,709,528)           -                -                 -                   -             (2,435,378)
   Professional Fees                          -            -              -            -           -             -            -        (1,199,575)           -                -                 -                   -             (1,199,575)
Total Disbursements                     (15,113,285)   (573,861)    (12,090,612)   (30,651)    (85,924)    (10,086,716)   (367,303)   (16,525,090)       (60,412)           (471)           (62,058)              (14)           (54,996,397)

Other
   Currency Conversion                       -             -            -             -            -            -             -            -              2,579                -             1,531                 -               4,111
   Transfers Between DCD Accounts        423,305           -            -             -        (205,000)    404,484           -        (218,305)        (287,016)          (40,000)         (77,468)               -                 (0)
Ending Balances (Per Bank Statements)    119,687          (0)          361            -         13,000       1,143           (0)       303,835          101,539             14,251          148,366             47,688            749,871

Deposits In Transit                          -             -         151,078          -        4,330         8,191            -            -                 -                -                 -                  -               163,598
Outstanding Checks                           -         (125,396)         -            -           -             -         (353,285)        -                 -                -                 -                  -              (478,681)
TOTALS                                   119,687       (125,396)     151,439          -        17,330        9,334        (353,285)    303,835           101,539           14,251           148,366             47,688             434,788
